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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


   STANLEY P. BAUDIN,                           )
                                Plaintiff,      )
                                                )
                                                )
           v.                                         Civil Action No.: 18-1063
                                                )
                                                )
   ASTRAZENECA                                        JUDGE SHELLY DICK
   PHARMACEUTICALS LP;                          )

   ASTRAZENECA LP; and MERCK                    ) MAGISTRATE JUDGE ERIN WILDER-DOOM
   SHARP & DOHME CORPORATION,                   )
                                                )
                                Defendants.     )
                                                )
                                                )
                                                )


                 PLAINTIFF’S DESIGNATION OF EXPERT WITNESSES

       Pursuant to the Federal Rules of Civil Procedure 26 (a)(2), Agreement by the Parties
and the Court’s scheduling order in this case (as amended), Plaintiff Stanley P. Baudin hereby
discloses the following witnesses that Plaintiff expects to provide expert testimony at trial:


       Retained Experts:


       1. Helge L. Waldum, M.D., Ph.D.
          Head of Department of Gastroenterology and Hepatology
          St. Olavs Hospital
          Trondheim, Norway


       Dr. Helge L. Waldum is a medical doctor licensed to practice in Norway and is a
professor at the Department of Cancer Research and Molecular Medicine at Norwegian
University of Science and Technology, Trondheim, Norway. Dr. Waldum’s credentials are
summarized in his curriculum vitae and submitted within the electronic zip file appended


                                                                               EXHIBIT 2         1
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hereto as Exhibit A. His anticipated trial testimony and opinions, compensation and reliance
list are further submitted within the electronic zip file appended as Exhibit A. The above
reference report and disclosures were served electronically to defense counsel, but not filed
with the Court. (Dr. Waldum has never testified at deposition or trial).


       2. Alfred I. Neugut, M.D., Ph.D., M.P.H.
          Department of Epidemiology
          Mailman School of Public Health
          Columbia University
          722 W. 168th Street, Room 725
          New York, NY 10032


       Dr. Alfred I. Neugut is an epidemiologist and medical oncologist with a particular
interest in gastrointestinal tract cancers, colorectal cancers and gastric cancers. Dr. Neugut’s
credentials are summarized in his curriculum vitae and submitted within the electronic zip file
appended hereto as Exhibit B. His anticipated trial testimony and opinions, testimonial
history, compensation and reliance list are further submitted within the electronic zip file
appended as Exhibit B. The above reference report and disclosures were served electronically
to defense counsel, but not filed with the Court.


       3. William JM Hrushesky, MD, FACP, ABIM IM, MO
          1012 Gregg Street
          Columbia, SC 29201


          Dr. William JM Hrushesky is a medical oncologist and professor at the University of
South Carolina. Dr. Hrushesky’s credentials are summarized in his curriculum vitae and report
submitted within the electronic zip file appended hereto as Exhibit C. His anticipated trial
testimony and opinions, compensation and reliance list are further submitted within the
electronic zip file appended as Exhibit C. The above reference report and disclosures were



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served electronically to defense counsel, but not filed with the Court. (Dr. Hrushesky has never
testified at deposition or trial).


       4. Joshua Sharlin, Ph.D.
          Sharlin Consulting
          Washington, D.C.

           Dr. Joshua Sharlin is an FDA regulatory compliance expert. Dr. Sharlin’s
credentials are summarized in his curriculum vitae and submitted within the electronic zip file
appended hereto as Exhibit D. His anticipated trial testimony and opinions, testimonial
history, compensation and reliance list are further submitted within the electronic zip file
appended as Exhibit D. The above reference report and disclosures have been served
electronically to defense counsel, but not filed with the Court.


       5. Nacer E. Abrouk, Ph.D.
          Clinical Trials Innovations, LLC
          Mountain View, CA 94043


           Dr. Nacer E. Abrouk, Ph.D. is a biostatistician who consults and performs
biostatistical analyses for the pharmaceutical industry. Dr. Abrouk’s credentials are
summarized in his curriculum vitae and submitted within the electronic zip file appended
hereto as Exhibit E. His anticipated trial testimony and opinions, compensation and reliance
list are further submitted within the electronic zip file appended as Exhibit E. The above
reference report and disclosures have been served electronically to defense counsel, but not
filed with the Court. (Dr. Abrouk has never testified at deposition or trial).


       Non-Retained Testifying Experts:
       The below listed non-retained testifying experts, if called to testify, may testify live, by
videotape, or through affidavit, as to the cause and extent of Plaintiff’s medical condition,
injuries, Plaintiff’s past and/or future medical treatment, diagnosis and/or prognosis. These

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witnesses may also testify as to the authenticity and matters contained in the medical records
and/or depositions of healthcare providers taken in this matter. They may further testify as to
the reasonableness of the medical bills and the customary cost of future treatment. Also, the
staff, personnel, and custodians of records of the below listed non-retained experts, if called to
testify, may testify as to the manner in which such records are recorded, made and kept and
who made the entries. The general substance of their mental impressions and opinions are
contained in their respective records and/or depositions taken in this matter. In addition, they
may testify as to any conversations had with the representatives, employees or agents of the
Defendants. Plaintiff would also refer Defendants to any and all depositions and their exhibits
taken in this matter. Pursuant to Rule 26(a)(2)(C), Plaintiff is excused from furnishing expert
reports of the following treating physicians:


       Brian Gremillion, MD
       Our Lady of the Lake Physician Group Picardy
       8119 Picardy Avenue
       Baton Rouge, LA 70809


       Curtis Chastain, MD
       Our Lady of the Lake Physician Group Men’s Health
       7777 Hennessy Boulevard
       Suite 101
       Baton Rouge, LA 70808


       Erin Thibault, MD
       Diagnostic Pathology Services
       725 Glenwood Avenue
       Suite E-888
       Chattanooga, TN 37404

       George McClelland, MD
       1331 Elmcrest Drive
       Baton Rouge, LA 70809


       John Tabor, MD
       Baton Rouge General Advanced Robotics Institute
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       8585 Picardy Avenue
       Suite 318A
       Baton Rouge, LA 70809


       Jon Traxler, MD
       Louisiana Ear, Nose, Throat & Sinus
       8080 Bluebonnet Blvd., Suite 2121
       Baton Rouge, LA 70810


       Ryan Chauvin, MD
       Gastroenterology Associates
       9103 Jefferson Highway
       Baton Rouge, LA 70809


       Todd Genre, NP
       Our Lady of the Lake Physician Group Men’s Health
       7777 Hennessy Boulevard
       Suite 101
       Baton Rouge, LA 70808

       Kelly R. Finan, MD
       Our Lady of the Lake Physician Group
       Baton Rouge, LA 70808


       Plaintiff reserves the right to supplement and amend the opinions of the aforementioned
experts pending review of additional materials disclosed during discovery in this case.
Plaintiff expressly reserves the right to have the aforementioned experts provide rebuttal
opinions and/or to identify additional experts in rebuttal, if the need arises.


 Dated: 1/14/2022                            Respectfully Submitted,

                                             /s/ Christopher L. Coffin
                                             Christopher L. Coffin (LA Bar # 27902)
                                             PENDLEY, BAUDIN & COFFIN, LLP
                                             1100 Poydras Street, Suite 2505
                                             New Orleans, LA 70163
                                             Tel. 504-355-0086
                                             Fax: 504-523-0699
                                             ccoffin@pbclawfirm.com
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                                                efontenot@pbclawfirm.com

                                                /s/ John M. Restaino, Jr.
                                                John M. Restaino, Jr. (CA 268382)
                                                (Admitted Pro Hac Vice)
                                                DALIMONTE RUEB STOLLER LLP
                                                5790 Fleet Street, Suite 200
                                                Carlsbad, CA 92008-4703
                                                Telephone: (833) 443-7529
                                                restaino@drlawllp.com

                                                /s/ John A. Dalimonte
                                                John A. Dalimonte (MA 554554)
                                                (Admitted Pro Hac Vice)
                                                DALIMONTE RUEB STOLLER LLP
                                                75 State Street, Suite 100
                                                Boston, MA 02109
                                                Telephone: (833) 443-7529
                                                Fax: (855) 203-2035
                                                john@drlawllp.com

                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of January, 2022, I electronically served the

 foregoing document to all counsel of record.


/s/ John A. Dalimonte




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